
378 U.S. 582 (1964)
McLEOD
v.
OHIO.
No. 14, Misc.
Supreme Court of United States.
Decided June 22, 1964.
ON PETITION FOR WRIT OF CERTIORARI TO THE SUPREME COURT OF OHIO.
PER CURIAM.
The motion for leave to proceed in forma pauperis and the petition for writ of certiorari are granted. The judgment is vacated and the case remanded to the Supreme Court of Ohio for consideration in light of Massiah v. United States, 377 U. S. 201.
MR. JUSTICE CLARK, MR. JUSTICE HARLAN and MR. JUSTICE WHITE dissent for the reasons assigned in the dissenting opinion in Massiah v. United States, supra, at 207.
